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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                          CASE NO.: 1:21-cv-20706-GAYLES/TORRES

  MEUDY ALBÁN OSIO in her personal capacity
  and in her capacity as the personal representative
  of the Estate of FERNANDO ALBERTO ALBÁN,
  FERNANDO ALBÁN OSIO, and MARIA FERNANDA
  ALBÁN OSIO,

         Plaintiffs,
  v.

  NICOLAS MADURO MOROS; FUERZAS
  ARMADAS REVOLUCIONARIAS DE COLOMBIA
  (“FARC”); THE CARTEL OF THE SUNS A.K.A.
  CARTEL DE LOS SOLES; VLADIMIR PADRINO
  LOPEZ; MAIKEL JOSE MORENO PEREZ; NESTOR
  LUIS REVEROL TORRES; and TAREK WILLIAM
  SAAB,

        Defendants.
  ___________________________________/


                                 FINAL DEFAULT JUDGEMENT

         THIS CAUSE comes before the Court on Plaintiffs’ Motion for Default Judgement

  Against Defendant Cartel of the Suns. [ECF No. 46]. The Court granted the Motion in a separate

  order. [ECF No. 58]. Pursuant to Federal Rule of Civil Procedure 58(a), the Court enters this separate

  and final default judgment.

         Accordingly, it is ORDERED AND ADJUDGED that a Final Default Judgement is hereby

  entered in favor of Plaintiffs Meudy Albán Osio in her personal capacity and in her capacity as the

  personal representative of the Estate of Fernando Alberto Albán, Fernando Albán Osio, and Maria

  Fernanda Albán Osio, against Defendant Cartel of the Suns as follows:
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          1.    Sixty-five million dollars ($65,000,000.00) in actual compensatory noneconomic

                damages for the pain, suffering and loss of companionship to the survivors of Mr.

                Albán, which is further trebled pursuant to Fla. Stat. § 772.13;

          2.    Seven million dollars ($7,000,000.00) in actual, compensatory damages for the

                torture of Mr. Albán;

          3.    One million dollars ($1,000,000.00) in actual, compensatory damages for the

                defamation of Mr. Albán;

          4.    Zero dollars ($0.00) in punitive damages;

          5.    This judgment shall bear interest at the rate as prescribed by 28 U.S.C. § 1961 until

                this judgment is satisfied;

          6.    The Court shall retain jurisdiction of this matter to enforce this Judgement.

          DONE AND ORDERED in Chambers at Miami, Florida, this 15th day of September,

  2022.




                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE




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